          Case 2:23-cv-00024-AM Document 18 Filed 08/25/23 Page 1 of 4




                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                 DEL RIO DIVISION


STATE OF TEXAS,                                  §
                                                 §
       Plaintiff,                                §
 v.                                              §
                                                 § Case No. 2:23-CV-00024-AM
ALEJANDRO MAYORKAS,                              §
Secretary of Homeland Security, et al.,          §
                                                 §
       Defendants.                               §

      DEFENDANTS’ CORRECTED UNOPPOSED MOTION FOR LEAVE TO FILE
            DISPOSITIVE MOTION IN EXCESS OF TWENTY PAGES

       Defendants respectfully file this Corrected Motion for Leave to File Dispositive Motion

in Excess of Twenty Pages, and in support state as follows:

       Rule CV-7(e) of the Local Rules states that dispositive motions filed with the Court shall

be limited to twenty (20) pages in length, unless otherwise authorized by the Court.

       On or about May 23, 2023, Plaintiff filed its Complaint, which seeks vacatur and

injunction of a regulation jointly promulgated by the Department of Homeland Security and the

Department of Justice, which creates a carefully-calibrated presumption of asylum ineligibility

for noncitizens who cross the southwest border into the United States after traveling through a

third country, subject to certain exceptions and means of rebuttal. See Compl. (ECF No. 1) ¶¶

23-25, 53 & Request for Relief; Circumvention of Lawful Pathways, 88 Fed. Reg. 31,314 (May

16, 2013) (the “Rule”); see also Circumvention of Lawful Pathways, 88 Fed. Reg. 11,704,

11,708 (Feb. 23, 2023) (notice of proposed rulemaking). After an initial extension, Defendants’

deadline to answer or otherwise respond to the Complaint was August 24, 2023. See Order (ECF

No. 8). Defendants originally filed this motion, with attachments, on August 24, 2023 (ECF No.
          Case 2:23-cv-00024-AM Document 18 Filed 08/25/23 Page 2 of 4




16), but received a deficiency notice concerning the proposed order today, August 25, 2023

(ECF No. 17), and are submitting this corrected motion at their earliest opportunity.

       Defendants have prepared a Motion to Dismiss for lack of subject-matter jurisdiction and

failure to state a claim, asserting that the Court should dismiss the Complaint in its entirety

because Plaintiff lacks Article III standing to challenge the Rule, Plaintiff is not within the zone

of interests protected by the relevant immigration statute, any challenge to CBP One would

challenge nonfinal and discretionary action, and the Complaint on its face fails to state a claim

for relief. Defendants’ Motion, attached hereto, is 29 pages long. The additional nine pages are

necessary to set forth the complex history and background concerning the events leading up to

enactment of the Rule and the statutes governing the immigration processing of noncitizens who

are governed by the Rule, as well as to adequately present Defendants’ arguments for dismissal.

The requested page expansion is also warranted by the importance of the issues raised, which

concern immigration and management of our nation’s borders and ports of entry.

       It is Defendants’ belief that this case can properly be disposed of through this dispositive

motion and valuable judicial resources may be saved if Defendants are permitted to file this

Motion to Dismiss, which is in excess of twenty pages.

       Defendants thus respectfully request that their motion be granted and that the attached

Motion to Dismiss and accompanying Appendix be filed, or, if the motion is denied, that the

Court extend the deadline for Defendants to answer or otherwise respond to the Complaint.

       Undersigned counsel conferred with counsel for Plaintiff via email and telephone

regarding this motion, who stated that Plaintiff does not oppose the relief requested.




                                                 2
         Case 2:23-cv-00024-AM Document 18 Filed 08/25/23 Page 3 of 4




Dated: August 25, 2023              Respectfully submitted,
                                    BRIAN M. BOYNTON
                                    Principal Deputy Assistant Attorney General

                                    WILLIAM C. PEACHEY
                                    Director

                                    EREZ REUVENI
                                    Assistant Director

                                    By: /s/ Katherine J. Shinners
                                    KATHERINE J. SHINNERS
                                    Senior Litigation Counsel
                                    D.C. Bar No. 978141
                                    U.S. Department of Justice, Civil Division
                                    Office of Immigration Litigation – DCS
                                    P.O. Box 868, Ben Franklin Station
                                    Washington, DC 20044
                                    Tel: (202) 598-8259
                                    Fax: (202) 305-7000
                                    Email: katherine.j.shinners@usdoj.gov

                                    CHRISTINA P. GREER
                                    Senior Litigation Counsel

                                    Attorneys for Defendants




                                       3
          Case 2:23-cv-00024-AM Document 18 Filed 08/25/23 Page 4 of 4




                                CERTIFICATE OF SERVICE

        I hereby certify that on the 25th day of August, 2023, I electronically filed the foregoing
corrected motion with the Clerk of the Court using the CM/ECF system, which will send
notification of such filing to counsel for Plaintiff.

                                                     /s/ Katherine J. Shinners
                                                     KATHERINE J. SHINNERS
                                                     Senior Litigation Counsel




                                                4
